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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                October 28, 2021
                         UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

DANIEL G. SANCHEZ,                          §
                                            §
          Plaintiff,                        §
VS.                                         § CIVIL ACTION NO. 2:21-CV-044
                                            §
MEGAN R. THOMPSON, et al,                   §
                                            §
          Defendants.                       §

                                        ORDER

       Before the Court is Plaintiff’s Objection to the Order Adopting Memorandum and

Recommendation (DE. 20).       In this document, Plaintiff explains that he continues to

object to the Magistrate Judge’s recommendations and now this Court’s disposition of his

claims.   Final judgment (D.E. 18) was entered on October 12, 2021.         Because this

document was filed within twenty-eight (28) days of the final judgment, it is construed as

a motion for new trial or to alter or amend the judgment under Federal Rules of Civil

Procedure 59. After due consideration, the Court DENIES the motion.

       ORDERED this 28th day of October, 2021.


                                             ___________________________________
                                             NELVA GONZALES RAMOS
                                             UNITED STATES DISTRICT JUDGE




1/1
